         Case 4:07-cr-00138-JLH Document 89 Filed 09/18/13 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

v.                               No. 4:07CR00138-02 JLH

MARK SMITH

                                          ORDER

       Without objection, Mark Smith’s motion for early termination of supervised release is

GRANTED. Document #83. Smith’s supervised release is hereby terminated, and he is discharged.

       IT IS SO ORDERED this 18th day of September, 2013.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
